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 6   Attorney for Defendant, Michael Ho
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE

 8                               EASTERN DISTRICT OF CALIFORNIA

 9                                                    )
     UNITED STATES OF AMERICA,                        )       Case No.: 1:09-cr-00369 AWI
10                                                    )
                    Plaintiff,                        )
11                                                    )       STIPULATION AND ORDER
            vs.                                       )       REGARDING SENTENCING HEARING
12                                                    )       AND BRIEFING SCHEDULE
     MICHAEL HO,                                      )
13                                                    )
                    Defendant                         )
14

15          IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney
16   for defendant MICHAEL HO, and Kathleen Servatius, Assistant United States Attorney, that the
17   sentencing be continued from January 28, 2013 at 11:00 a.m., to April 1, 2013 at 11:00 a.m. The
18   parties further agree to a new filing schedule for the defendant’s sentencing brief to be filed on or
19   before March 4, 2013 at 4:00 p.m. and the government’s reply to the defendant’s sentencing brief
20   to be filed on or before March 18, 2013 at 4:00 p.m.
21          The reason for this request is defense counsel is in a jury trial for Fresno County Superior
22   Court Case No. F10902041. The trial began January 14, 2013 and is expected to conclude by
23   February 22, 2013. The proposed briefing schedule will allow counsel sufficient time to file
24   sentencing briefs.
25
     Dated: January 24, 2013                       /s/ Kathleen Servatius
26                                                 Kathleen Servatius, Assistant U.S. Attorney
27   Dated: January 24, 2013                       /s/ Jeffrey T. Hammerschmidt
28
                                                   Jeffrey T. Hammerschmidt
                                                   Attorney for Defendant, Michael Ho



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                                      IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                               EASTERN DISTRICT OF CALIFORNIA
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10                                                           )
     UNITED STATES OF AMERICA,                               ) Case No.: 1:09-cr-00369 AWI
11                                                           )
                                  Plaintiff,                 )
12                                                           )
            vs.                                              )
13                                                           )
     MICHAEL HO,                                             )
14                                                           )
                                  Defendant                  )
15

16                                                         ORDER
17
            IT IS ORDERED that the January 28, 2013 sentencing date be vacated.
18
            IT IS ORDERED that the sentencing will now occur on April 1, 2013 at 11:00 a.m.
19
            IT IS ORDERED that the defendant’s sentencing brief shall be filed on or before March
20
     4, 2013 at 4:00 p.m. The government’s reply to the defendant’s sentencing brief shall be filed on
21
     or before March 18, 2013 at 4:00 p.m.
22

23

24   IT IS SO ORDERED.
25
     Dated: January 24, 2013
26
            DEAC_Signature-END:
                                                          SENIOR DISTRICT JUDGE
27
            0m8i788
28




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